              Case 1:06-cr-00059-AWI Document 592 Filed 07/15/10 Page 1 of 2



 1   Jeffrey T. Hammerschmidt
     Attorney at Law
 2   2445 Capitol Street, Suite 150
     Fresno, California 93721
 3   Tel: (559) 233-5333
     Fax: (559) 485-3852
 4
     Attorney for Defendant, Francheska Brizan
 5

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 7
                       IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9

10                                                  )
     UNITED STATES OF AMERICA,                      ) Case No.: 1:06-cr-00059 AWI
11                                                  )
                   Plaintiff,                       )
12                                                  ) STIPULATION REGARDING
            vs.                                     ) SENTENCING DATE
13                                                  )
     FRANCHESKA BRIZAN,                             )
14                                                  )
                   Defendant                        )
15
            IT IS HEREBY STIPULATED by and between Jeffrey T. Hammerschmidt, attorney for
16
     defendant FRANCHESKA BRIZAN, and Karen Escobar, Assistant United States Attorney, that
17
     the sentencing hearing be continued from July 19, 2010, at 9:00 a.m., to August 30, 2010, at 9:00
18
     a.m.
19

20
     Dated: July 15, 2010                                Respectfully submitted,
21

22
                                                         /s/ Jeffrey T. Hammerschmidt
                                                         Jeffrey T. Hammerschmidt
23                                                       Attorney for Defendant,
                                                         Francheska Brizan
24

25
     Dated: July 15, 2010                                /s/ Karen Escobar
26                                                       Karen Escobar
                                                         Assistant U.S. Attorney
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                            Case 1:06-cr-00059-AWI Document 592 Filed 07/15/10 Page 2 of 2



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 7                                   IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                            EASTERN DISTRICT OF CALIFORNIA
 9
                                                            )
10   UNITED STATES OF AMERICA,                              ) Case No.: 1:06-cr-00059 AWI
                                                            )
11                               Plaintiff,                 )
                                                            )
12         vs.                                              )
                                                            )
13   FRANCHESKA BRIZAN,                                     )
                                                            )
14                               Defendant                  )
15

16
                                                          ORDER
17
           IT IS ORDERED that the July 19, 2010 sentencing date be vacated.
18
           IT IS ORDERED that the sentencing will now occur on August 30, 2010 at 9:00 a.m.
19

20

21   IT IS SO ORDERED.
22   Dated: July 15, 2010
23         DEAC_Signature-END:
                                                     CHIEF UNITED STATES DISTRICT JUDGE

24         0m8i788
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